       Case 3:07-cv-05944-JST Document 2806 Filed 09/05/14 Page 1 of 8



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14

15                                UNITED STATES DISTRICT COURT
16                             NORTHERN DISTRICT OF CALIFORNIA
17                                     SAN FRANCISCO DIVISION
18

19 IN RE: CATHODE RAY TUBE (CRT)                             CASE NO.: 3:07-cv-05944-SC
   ANTITRUST LITIGATION
20                                                           MDL NO.: 1917
   ________________________________________
21                                                           INDIVIDUAL CASE: 3:11-cv-01656-SC
   This Document Relates To:
22                                                           STIPULATION AND [PROPOSED]
   Electrograph Systems, Inc., et al. v. Hitachi, Ltd., et   ORDER REGARDING DISCOVERY
23 al.                                                       TO OCCUR AFTER SEPTEMBER 5,
                                                             2014
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     STIPULATION AND [PROPOSED] ORDER RE                                       CASE NO.: 3:07-cv-05944-SC
     DISCOVERY TO OCCUR AFTER SEPT. 5, 2014                         INDIVIDUAL CASE NO.: 3:11-cv-01656-SC
         Case 3:07-cv-05944-JST Document 2806 Filed 09/05/14 Page 2 of 8



 1          Defendants Hitachi, Ltd., Hitachi Displays, Ltd., Hitachi Asia, Ltd., Hitachi America, Ltd.,

 2 and Hitachi Electronic Devices (USA), Inc. (collectively, the “Hitachi Defendants”) and the

 3 undersigned Defendants (collectively, “Defendants”) and plaintiffs Electrograph Systems, Inc. and

 4 Electrograph Technologies Corp. (collectively, “Electrograph”) have conferred by and through

 5 their counsel and, subject to the Court’s approval, HEREBY STIPULATE AS FOLLOWS:

 6          WHEREAS, September 5, 2014 is the deadline to complete fact discovery in the

 7 Electrograph action;

 8          WHEREAS, on July 23, 2014, Defendants informed Electrograph of their intent to

 9 subpoena for deposition five former employees of Electrograph—Alex Ivani, Rabih Chikhani, Lou

10 Azzam, Kathy Koziol, and Sam Taylor—and requested deposition dates for those witnesses;

11          WHEREAS, Electrograph informed Defendants that its counsel had limited availability to

12 attend the depositions of former Electrograph employee witnesses during the month of August and

13 therefore requested that Defendants schedule those depositions for September;

14          WHEREAS, Electrograph and Defendants have conferred and agreed that Defendants may

15 depose former Electrograph employees after September 5, 2014;

16          WHEREAS, Electrograph and Defendants have conferred and agreed to schedule the

17 deposition of Kathy Koziol for September 16, 2014, the deposition of Sam Taylor for September

18 18, 2014, the deposition of Alex Ivani for October 16, 2014, and the depositions of Robbie

19 Chikhani and Lou Azzam for dates, still to be determined, after September 5, 2014 but no later

20 than October 31, 2014;

21          WHEREAS, Electrograph and Defendants agree to negotiate and cooperate in good faith

22 with respect to the scheduling of any depositions that may occur after September 5, 2014, subject

23 to the Court’s Discovery Protocol (Dkt. No. 1128);

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     STIPULATION AND [PROPOSED] ORDER RE DISCOVERY   1                          CASE NO.: 3:07-cv-05944-SC
     TO OCCUR AFTER SEPT. 5, 2014                                    INDIVIDUAL CASE NO.: 3:11-cv-01656-SC
       Case 3:07-cv-05944-JST Document 2806 Filed 09/05/14 Page 3 of 8



 1          NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED between counsel as

 2 follows:

 3          1.     Defendants may subpoena, notice, and take additional depositions of former

 4 Electrograph employees Alex Ivani, Rabih Chikhani, Lou Azzam, Kathy Koziol, and Sam Taylor

 5 after September 5, 2014 but no later than October 31, 2014, subject to the Court’s Discovery

 6 Protocol (Dkt. No. 1128); and

 7          2.     To the extent motions to compel may be required for item 1 above, Defendants may

 8 file those motions within ten days after the depositions in question.

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10          PURSUANT TO STIPULATION, IT IS SO ORDERED.
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15 DATED:        09/05/2014




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                                                 Hon. Samuel Conti
16                                               United States District Judge
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     STIPULATION AND [PROPOSED] ORDER RE DISCOVERY        2                         CASE NO.: 3:07-cv-05944-SC
     TO OCCUR AFTER SEPT. 5, 2014                                        INDIVIDUAL CASE NO.: 3:11-cv-01656-SC
         Case 3:07-cv-05944-JST Document 2806 Filed 09/05/14 Page 4 of 8



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     STIPULATION AND [PROPOSED] ORDER RE DISCOVERY   3                          CASE NO.: 3:07-cv-05944-SC
     TO OCCUR AFTER SEPT. 5, 2014                                    INDIVIDUAL CASE NO.: 3:11-cv-01656-SC
         Case 3:07-cv-05944-JST Document 2806 Filed 09/05/14 Page 5 of 8



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                                                 [continued on next page]
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     STIPULATION AND [PROPOSED] ORDER RE DISCOVERY   4                          CASE NO.: 3:07-cv-05944-SC
     TO OCCUR AFTER SEPT. 5, 2014                                    INDIVIDUAL CASE NO.: 3:11-cv-01656-SC
         Case 3:07-cv-05944-JST Document 2806 Filed 09/05/14 Page 6 of 8



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     STIPULATION AND [PROPOSED] ORDER RE DISCOVERY   5                        CASE NO.: 3:07-cv-05944-SC
     TO OCCUR AFTER SEPT. 5, 2014                                  INDIVIDUAL CASE NO.: 3:11-cv-01656-SC
         Case 3:07-cv-05944-JST Document 2806 Filed 09/05/14 Page 7 of 8



 1 DATED: September 4, 2014                      By: /s/ Richard Snyder

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     STIPULATION AND [PROPOSED] ORDER RE DISCOVERY   6                         CASE NO.: 3:07-cv-05944-SC
     TO OCCUR AFTER SEPT. 5, 2014                                   INDIVIDUAL CASE NO.: 3:11-cv-01656-SC
       Case 3:07-cv-05944-JST Document 2806 Filed 09/05/14 Page 8 of 8



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 9
            Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this
10
     document has been obtained from each of the above signatories.
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     STIPULATION AND [PROPOSED] ORDER RE DISCOVERY   7                           CASE NO.: 3:07-cv-05944-SC
     TO OCCUR AFTER SEPT. 5, 2014                                     INDIVIDUAL CASE NO.: 3:11-cv-01656-SC
